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                                                                                  John Doe
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                                                  s.~...~...,.
Honorable Nancy F. Atlas
Senior United States District Judge
515 Rusk Avenue, Houston, TX 77002


Court Case: Siemens Product Lifecycle Management Software Inc. v. Does 1-107, Case
No. 4:18-cv-02344
Charter Communications, Inc. Case Number: 59869
ID Number: 27


Your Honor,


I am writing to obj ect to the above subpoena requesting Charter Comnllmications Inc.
("Charter") to disclose my personal infmmation to plaintiff Siemens Product Lifecycle
Management Software Inc. ("Siemens").


I recently received a copy of the subpoena from Charter, my internet service provider, about
the request made by Siemens to disclose my personal infonnation based on the record of
allegedly downloading or distributing the copyrighted work of Siemens through my IP
address.


But the fact was that I unintentionally used the unlicensed software once only for my course
project, which was purely for nonprofit educational purpose. According to Copyright
Disclaimer Under Section 107 of the Copyright Act 1976, this should be considered as "fair
use" and is not an infringement of copyright. I made use of the software only because of
the requirement of my course project, and it was nothing of a commercial nature.


Another point I want to explain is that I had never used the software before, so I was not
familiar with the license for using the software. After I found it was unlicensed, I deleted
the software immediately as I have always been respecting copyrighted works.


Your Honor, I trust your judgment. My behavior belongs to fair use and should not be
considered as an infringement of copyright. Therefore, the request from Siemens to
disclose my personal information should not be approved given the fact of my fair use. And
Charter should not disclose my personal information to Siemens for the protection of my
pnvacy.


Respectfully,
;foJw_      ~
John Doe
